
644 S.E.2d 6 (2007)
In the Matter of D.M.
appealed by Respondent Mother.
No. 84P07.
Supreme Court of North Carolina.
March 8, 2007.
K. Edward Greene, Raleigh, Adrienne E. Allison, for Mother.
Jennifer S. O'Connor, for Johnston County DSS.
Chad Lee, Elizabeth M. Boone, for Guardian ad Litem.

ORDER
Upon consideration of the petition filed by Respondent (Mother) on the 7th day of February 2007 in this matter for a writ of certiorari to review the orders of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of March 2007."
Upon consideration of the petition filed by Respondent (Mother) on the 7th day of February 2007 in this matter for a writ of certiorari to review the order of the District Court, Johnston County, the following order was entered and is hereby certified to the Superior Court of that County:
"Denied by order of the Court in conference, this the 8th day of March 2007."
